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`                                               U.S. Department of Justice

                                                United States Attorney
                                                Southern District of New York

                                                     November 17, 2021
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
BY EMAIL                                            New York, New York 10007


                                                April 1, 2022


By ECF

The Honorable Vernon S. Broderick
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007B

       Re:     United States v. Ghislaine Maxwell, S2 20 Cr. 330 (VSB)

Dear Judge Broderick:

       The Government respectfully submits this letter in opposition to the defendant’s April 1,

2022 letter, which requests a stay of this matter based on a Paramount Plus trailer. The Court

should reject the defendant’s application, which is premised on the pure speculation that an

unreleased interview with Juror 50 could potentially contain information relevant to the

defendant’s motion.

       The Court has conducted a thorough hearing, at which the Court asked Juror 50 detailed

questions about all subjects relevant to the pending motion. The Court has completed the fact-

finding process, and there is no basis on the current record to conclude that a stay is warranted.

Indeed, the defendant’s application contains no legal or factual support beyond the citation to a

Paramount Plus trailer. If the defendant obtains new information, she may file any appropriate

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motions at that time, but it is inappropriate to stay this matter based on nothing more than the

defendant’s conjecture.

       The Government strongly opposes a stay of this matter. The application should be denied.

                                                  Respectfully submitted,

                                                  DAMIAN WILLIAMS
                                                  United States Attorney


                                            By:       s/
                                                  Maurene Comey
                                                  Alison Moe
                                                  Lara Pomerantz
                                                  Andrew Rohrbach
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                                                  Southern District of New York

Cc: Defense Counsel (by ECF)




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